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                  AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, W. Brian Schmitt, Special Agent with the Federal Bureau of Investigation, being duly sworn,
deposes and states under penalty of perjury that the following is true to the best of my
information, knowledge, and belief.

   1. I am a Special Agent of the Federal Bureau of Investigation (FBI), and have been since July
      2002. As part of my duties, I investigate criminal violations relating to attacks on critical
      infrastructure, domestic terrorism, and weapons violations to include explosives. I have
      received training and instruction in the field of investigation of domestic terrorism, Weapons
      of Mass Destruction (WMD), critical infrastructure, weapons violations, explosives, and
      transportation related violations and have had the opportunity to participate in investigations
      relating to attacks on critical infrastructure, domestic terrorism, WMD and weapons
      violations.

   2. Because this affidavit is being submitted for the limited purpose of securing an arrest
      warrant, I have not included each and every fact known to me concerning this investigation.
      I have set forth facts that I believe are necessary to establish probable cause to believe that
      ETHAN JEFFREY COLLINS violated 26 U.S.C. §§ 5861(d) (unlawful possession of
      firearms silencers), 5861(f) (unlawful manufacture of firearm silencers); and 5861(i)
      (possession of firearm silencers without a serial number) (the “Subject Offenses”).

   3. The information contained within the affidavit is based on my training and experience, as
      well as information imparted to me by other law enforcement officers involved in this
      investigation.

                          FACTS SUPPORTING PROBABLE CAUSE

                              COLLINS’s Polygraph Examination

   4. In May 2020, COLLINS applied for a position with a particular federal government agency
      (the “Federal Government Agency”). As part of the hiring process with the Federal
      Government Agency, COLLINS was subjected to a polygraph examination.

   5. On January 11, 2021, after failing three separate polygraph examinations, COLLINS was
      interviewed by the Federal Government Agency’s polygraph examiner (the “Polygraph
      Examiner”) regarding statements made before and during the terrorism portion of the
      polygraph examination.

   6. Among other things, COLLINS told the Polygraph Examiner the following:

           a. In early 2020, COLLINS began research and formulating a plan to sabotage (“take
              down”) the electrical power grid in Denver, Colorado. COLLINS admitted to
              studying power transmission lines and towers to determine what weaknesses they
              had. Being made of steel, COLLINS believed some type of powerful explosion
              would be needed to destroy them, but he did not have access to such explosives.

           b. COLLINS also studied power grid maps and blueprints found on open source
              websites on the internet. COLLINS identified several key locations he believed could
              be disrupted and blackout Denver and cut 80% of power to the state of Colorado.
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            COLLINS stated that he believed that the power stations he identified operated using
            General Electric Natural Gas turbines and could be disabled by throwing a wrench or
            some other large metallic object into the turbine. COLLINS said that his work and
            experience as a pilot provided him with familiarity with turbines.

         c. COLLINS said that he scouted some of the key locations he identified and took
            pictures of power facilities in the Denver area using the camera on his phone.

         d. COLLINS initially stated he did not proceed with the plan because cutting off the
            power would likely lead to a great loss of life and many of those who would die
            would be civilians and would not target only government and law enforcement.
            Later, COLLINS admitted the reason he did not proceed with the attack is because he
            did not have the necessary manpower and support he needed to carry out his plan.

         e. COLLINS stated he had a detailed plan physically saved to his computer hard drive
            but would not confirm if it was on his laptop currently in his possession or another
            computer he owned. COLLINS had no definite date for his attack on the power grid
            but believed it needed to occur during a snowstorm to cover his actions. COLLINS
            described his plan in detail, including the number of personnel and vehicles he
            believed he would need. COLLINS explained that he would need 72 people and 11
            vehicles, split into teams, to carry out his attack. Each team would operate
            independently and would not be in communication during the attack so they could not
            provide information to law enforcement about the other teams.

         f. One part of COLLINS’s plan was to create a distraction. The distraction was to be an
            explosion on a freeway that would draw law enforcement resources far away from the
            real targets.

         g. COLLINS also identified the Federal Reserve building in Denver, Colorado as a
            potential target. The Federal Reserve was targeted because COLLINS believes that
            the actions taken by the Federal Reserve in the past year, which he described as
            printing 30% of all money in circulation, was intended to create inflation that would
            cripple the U.S. economy and leave much of the country in poverty.

         h. COLLINS also identified Data Centers for the state of Colorado as another target.
            COLLINS was able to find the locations and other information about the data centers
            through IP addresses found on the Colorado Department of Revenue website.
            COLLINS denied hacking into the site but stated he was very good with computers.
            COLLINS targeted the data centers because they contained all the Colorado driver’s
            license information for the state of Colorado. COLLINS believed if the data centers
            were taken down, driver’s license information would not be available for law
            enforcement to see who you were.

         i. COLLINS also identified police stations in Denver as potential targets so it would be
            difficult for law enforcement to respond to his planned power outage if their facilities
            were not operational.

         j. COLLINS said that, because of the COVID-19 shutdowns and restrictions, his hours
            as a pilot have been cut and his salary has been reduced by 55%. COLLINS distrusts
            government and law enforcement and the COVID-19 restrictions has caused an
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                 increase in anger toward both. He began formulating his plan to disrupt the power
                 grid around the time the COVID-19 shutdowns began.

             k. COLLINS shared his admiration for the terrorist group ISIS because they had the
                courage and conviction to bring their vision of a society into existence through force.
                COLLINS said that he strongly disagreed with their ideology and their use of torture,
                rape, and murder, but he admired that they took decisive action and were able to form
                their own society.

             l. COLLINS discussed the bombing in downtown Nashville that occurred on Christmas
                day 2020. COLLINS felt that the bomber was not a terrorist because he did not target
                innocent civilians. He described the bomber as a genius. 1

             m. COLLINS also shared his opinion on the recent plot to kidnap Michigan Governor
                Gretchen Whitmer. COLLINS stated that those plotting to kidnap the Governor
                would be justified in doing so if they arrested her and put her on trial for violating
                their rights as American citizens. 2

             n. COLLINS believes that somebody who targets only the government or law
                enforcement should not be considered a terrorist and only those who intentionally
                target innocent civilians are terrorists. COLLINS considers himself as a patriot, not a
                terrorist, but at one point during the interview did state he felt he was a terrorist.
                COLLINS said he has spent a lot of time thinking about how easy it would be to
                shutdown major infrastructure, which might be necessary in the case of a tyrannical
                government. COLLINS is not sure if the country has reached that point yet but if it
                has not it will soon.

             o. COLLINS was asked what he would do if hired by the Federal Government Agency,
                given that he feels the government was taking away his rights. COLLINS stated that
                “you would need to watch your back” and that he upholds the Constitution.
                COLLINS said that the Federal Government Agency’s mission is one of the few
                government duties that is legitimate and that 80% of the government should be
                abolished.

                                Search Warrant at COLLINS’s Residence

    7. On January 29, 2021, law enforcement officers executed a judicially-authorized federal
       search warrant at COLLINS’s residence in Centennial, Colorado. 3 Among other things,
       officers located the following items in the basement apartment occupied by COLLINS:


1
  On December 25, 2020, an individual detonated a bomb inside an RV in Nashville, Tennessee. The suspect was killed
in the blast and eight other people were injured. The bomb caused significant property damage, including damaging an
AT&T network hub, which caused days-long communication outages. Prior to the blast, witnesses reported hearing a
recording broadcast from the RV urging people to evacuate the area.
2
 On October 8, 2020, law enforcement officers arrested 13 people accused of orchestrating a plot to kidnap Governor
Whitmer in response to her COVID-19 lockdown policies.
3
 COLLINS listed this address in Centennial as his home address on paperwork he submitted along with his application
for employment with the Federal Government Agency. It is also the address that is associated with COLLINS in law
enforcement databases. COLLINS does not have a Colorado driver’s license, but a vehicle registered to COLLINS at
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             a. Three black pipe-shaped objects that appeared to be firearms silencers (the
                “Silencers”);

             b. Firearms (what is believed to be a Romanian PSL/FPK 7.62 x 54mm sniper-type rifle
                with high powered scope; a Smith & Wesson M&P pistol of unknown caliber; a AR-
                15 type assault rifle, caliber .223, with black stocks and silver lower receiver; and a
                Makarov type pistol, unknown caliber);

             c. Ammunition (7.62 mm - approximately 1100 rounds; .223 (or 5.56mm NATO) -
                approximately 700 rounds; 9mm ammunition - approximately 100 rounds; and 7.62
                mm - approximately 20 rounds);

             d. Ballistic vests and helmets; and

             e. Two phones and one computer.

    8. During the execution of the search warrant, COLLINS—who was at home—was interviewed
       by law enforcement officers. Among other things, COLLINS stated that the Silencers were
       not registered because he made them.

                                               Firearms Silencers

    9. From speaking with a special agent employed by the Bureau of Alcohol, Tobacco, Firearms,
       and Explosives (“ATF”) I have learned the following about the Silencers that are described in
       paragraph 7(a), supra:

             a. The Silencers are black, cylindrical in shape, metal tubes approximately 12 to 15
                inches in length with a threaded end which attaches to the muzzle of a pistol,
                submachine gun, or rifle. Upon visual inspection of the devices, internal sound
                baffles can be seen inside the cylindrical tube indicating the device is used for
                reducing the acoustic intensity of the muzzle blast.

             b. Accordingly, the Silencers are, in fact, “firearms silencers” as defined in 18 U.S.C.
                § 921(a)(24), that is, a “device for silencing, muffling, or diminishing the report of a
                portable firearm, including any combination of parts, designed or redesigned, and
                intended for use in assembling or fabricating a firearm silencer . . . .”

             c. As firearms silencers with the above-described characteristics, the Silencers are
                regulated “firearms” under 26 U.S.C. § 5845(a)(7). In order to lawfully possess
                silencers (and any regulated firearms), individuals must register them in the National
                Firearms Registration and Transfer Record.

             d. The Silencers are not registered to COLLINS in the National Firearms Registration
                and Transfer Record and were therefore possessed unlawfully pursuant to 26 U.S.C. §
                5861(d).




this address was observed there before execution of the search warrant. Finally, COLLINS was home at the time of the
search warrant execution, as described in paragraph 8, infra.
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           e. In order to lawfully make or manufacture the Silencers (and any regulated firearms),
              an individual must comply the National Firearms Act, including several requirements
              such as 26 U.S.C. § 5821 (a tax levied and paid for the making of a firearm), 26
              U.S.C. § 5822 (“No person shall make a firearm unless” they make an application,
              pay a tax … and obtain approval from the Secretary of the Treasury), and 26 U.S.C. §
              5841 (“Each … maker shall register each firearm he … makes” with the Secretary of
              the Treasury). The term “make” is defined in 26 U.S.C. § 5845(i) and includes,
              “various derivatives of such word, shall include manufacturing (other than by one
              qualified to engage in such business under this chapter), putting together, altering,
              any combination of these, or otherwise producing a firearm.”

           f. Because the Silencers are not registered to COLLINS in the National Firearms
              Registration and Transfer Record, he did not comply with the requirements of the
              National Firearms Act to lawfully make the Silencers. Therefore, the Silencers were
              made in violation of 26 U.S.C. § 5861(f).

           g. In addition, the Silencers do not have serial numbers, as is required of silencers
              pursuant to 26 U.S.C. § 5861(i).

   10. I declare under penalty of perjury that the foregoing is true and correct to the best of my
       information, knowledge, and belief.


                                                      s/ W. Brian Schmitt
                                                      Special Agent W. Brian Schmitt
                                                      Federal Bureau of Investigation



                         2nd day of February, 2021.
Sworn to before me this_____


____________________________
Hon. Kristen L. Mix
United States Magistrate Judge




Affidavit reviewed and submitted by Andrea Surratt, Assistant United States Attorney.




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